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      2830080v.1
     Case 2:15-cv-09692-PSG-E Document 143 Filed 08/04/17 Page 2 of 3 Page ID #:955



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 9
 9                          UNITED STATES DISTRICT COURT
10
10                         CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
11
11
12 Consumer Financial Protection
12                                        CASE NO. 2:15-cv-09692-PSG(Ex)
   Bureau,
13
13                                        (consolidated for pretrial purposes with Case
14
14            Plaintiff,                  Nos. 2:16-cv-02724-PSG(Ex) and 2:16-cv-
                                          02725-PSG(Ex))
15 v.
15
16
16                                        JOINT STATUS REPORT ON MEDIATION
   D and D Marketing, Inc., d/b/a
17 T3Leads, et al.,
17
18
18
        Defendants.
19
19
20
20            Plaintiff Consumer
              Plaintiff Consumer Financial
                                 Financial Protection
                                           Protection Bureau
                                                      Bureau (the “Bureau”) and
                                                             (the "Bureau") and
21 Defendants D and D Marketing d/b/a T3Leads (“T3”),
21                                            ("T3"), Marina Demirchyan, Grigor
22 Demirchyan,
22 Demirchyan, Dmitry
               Dmitry Fomichev,
                      Fomichev, and       Gasparyan (a/k/a
                                and Davit Gasparyan (a/k/a David
                                                           David Gasparyan)
                                                                 Gasparyan)
23 (collectively,
23 (collectively, the
                   the “Parties”)
                       "Parties") provide
                                  provide the following
                                              following joint status
                                                              status report
                                                                      report regarding
                                                                              regarding
24 mediation and the related settlement discussions.
24
25
25            The Parties
              The Parties participated
                          participated in mediation before
                                       in mediation before retired
                                                           retired U.S.
                                                                   U.S. District
                                                                        District Judge
                                                                                 Judge
26 George
26 George H. King on June
                     June 28,
                          28, 2017,
                              2017, and
                                    and the
                                         the settlement
                                              settlement dialogue
                                                         dialogue continues
                                                                  continues among
                                                                            among
27
27
28
28
                                   Joint Status Report On Mediation
      2830080v.1
     Case 2:15-cv-09692-PSG-E Document 143 Filed 08/04/17 Page 3 of 3 Page ID #:956



 1
 1
          Parties and with
      the Parties     with Judge
                           Judge King.
                                 King. Information
                                        Information is still
                                                       still being
                                                             being exchanged,
                                                                   exchanged, and the
 2
 2
      Parties continue to believe that progress is being made.
 3
 3
 4 Dated: August 4, 2017
 4
 5
 5
      Respectfully submitted,
 6
 6
 7
 7
      Consumer Financial
               Financial Protection
                         ProtectionBureau    Soltman,Levitt,
                                    Bureau Soltman,   Levitt,Flaherty
                                                              Flaherty&&Wattles
                                                                        Wattles LLP
 8
 8
 9
 9
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11                                           Attorney for Defendant,
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   Consumer   FinancialProtection
                           ProtectionBureau   Dmitry Fomichev
                                      Bureau Dmitry   Fomichev
12
12
13 Wilson,
13 Wilson, Elser,
           Elser,Moskowitz,
                  Moskowitz,Edelman
                             Edelman& & Reed
                                         ReedSmith
                                             Smith LLP
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19 T3Leads; Grigor Demirchyan; and
19                                                    Davit Gasparyan, a/k/a David
   Marina Demirchyan                                  Gasparyan
20
20
21
21
      Attestation Pursuant
      Attestation Pursuant To
                           To Local
                              Local Rule
                                    Rule 5-4.3.4
                                         5-4.3.4
22
22
      I attest that all other signatories listed, and on whose behalf the filing is submitted,
23
23
      concur in the filing’s   content and have authorized the filing of this document.
                      filing's content
24
24
      WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP
25
25
26 /s/ Herbert P. Kunowski
26
27 Herbert P. Kunowski
27
28
28
                                     Joint Status Report On Mediation
      2830080v.1
